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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



                                                                            Civil Action
                                                                            No: 18-11585-NMG


                                       GIANNA KRSTIC

                                                v.


                             SOFREGEN MEDICAL INC., ET AL



                                  ORDER OF DISMISSAL

GORTON, D.J.


          In accordance with the Court’s allowance of the Defendant’s Motion to Dismiss on 4/8/2019
, it is hereby ORDERED that the above-entitled action be and hereby is dismissed.



                                                                    By the Court,


                                                                    /s/ Christine M. Lima
                                                                    Deputy Clerk




April 8, 2019


To: All Counsel
